91 F.3d 130
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Christopher James FORDHAM, Plaintiff-Appellant,v.Sergeant NOWELL;  Sergeant Miles;  Dr. Anderson, Defendants-Appellees,andRandall Lee;  William Mayo, Sergeant;  A. Jones, Sergeant;Sergeant Herbert;  H.L. Debrow;  R.N.C. Barrow;R.N. Williams;  S. Lynch;  Ann Emery;Sergeant Charles, Defendants.
    No. 96-6187.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 23, 1996.Decided July 31, 1996.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  W. Earl Britt, District Judge.  (CA-94-473-5-BR)
      Christopher James Fordham, Appellant Pro Se.  William Dennis Worley, NORTH CAROLINA DEPARTMENT OF JUSTICE, Raleigh, North Carolina, for Appellees.
      E.D.N.C.
      AFFIRMED.
      Before WIDENER, NIEMEYER, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. § 1983 (1988) complaint.  We have reviewed the record and the district court's opinion accepting the magistrate judge's recommendation and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.   Fordham v. Lee, No. CA-94-473-5-BR (E.D.N.C. Jan. 18, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    